                                                                                    DISTRICT OF OREGON
                                                                                       FILED
                                                                                       June 20, 2019
                                                                               Clerk, U.S. Bankruptcy Court



     Below is an order of the court.




                                                                     _____________________________
                                                                            TRISH M. BROWN
                                                                          U.S. Bankruptcy Judge




                                UNITED STATES BANKRUPTCY COURT
                                      DISTRICT OF OREGON

In re                                         )   Case No.         18-32159-tmb7
Michelle Anne Baron                           )
aka Michelle Anne Bevans                      )   Order, drafted on: _______________,
                                                                        06/18/2019
                                              )   Re: Relief From (Check all that apply):
                                              )       Debtor Stay      Codebtor Stay
                                              )   Creditor: U.S. Bank Trust, N.A.*
Debtor(s)                                     )   Codebtor:

The undersigned, _________________________,
                 Michael S. Scott           whose address is 920 SW 3rd Ave. 1st Floor
__________________________________,
Portland, OR 97204                    email is ________________________________________,
                                               mscott@mccarthyholthus.com
phone number is ________________,
                971-201-3200      and any OSB # is ___________,
                                                   973947       presents this order based upon:

    The completed stipulation of the parties located at the end of this document.
    The oral stipulation of the parties at the hearing held on ____________.
    The ruling of the court at the hearing held on ____________.
    Creditor certifies that any default notice required by paragraph 5 of the order re: relief from stay
    entered on ____________ was mailed, and that debtor(s) failed to comply with the conditions of
    that order. The dates and amounts of missed cure payments and the date of creditor’s notice of
    default are as follows:


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     Creditor certifies that no response to the motion for relief from stay filed on ____________
                                                                                     05/30/2019   and
    served on ____________
                05/30/2019 was filed within the response period plus 3 days.
IT IS ORDERED that, except as provided in paragraph 4 below, the stay existing pursuant to 11 U.S.C. §
362(a) remains in effect as to the property described below (hereinafter "the property"):
    Personal property described as (e.g., 2001 Ford Taurus):




    Real property located at (i.e., street address):
    32934 Smith Rd, St Helens, OR 97051



    [Optional unless in rem relief granted] Exhibit A attached hereto is the legal description of the
    property.


IT IS FURTHER ORDERED that the stay is subject to the conditions marked below:
    1.   Regular Payment Requirements.
         a. Debtor(s) must deliver regular monthly payments in the amount of $____________
            commencing ___________________ to creditor at the following address:




         b. The chapter 13 trustee must immediately pay and disburse to creditor the amount of
            $_______________ per month from funds paid to the trustee by debtor(s), and continue
            each month until the plan is confirmed, at which time the plan payment terms will control.
            Payments made by the trustee under this order are deemed to be payments under the plan
            for purposes of the trustee's collection of percentage fees.
         c. Debtor(s) must pay to the trustee any and all payments required to be paid under the terms
            of the chapter 13 plan.
    2.   Cure Payment Requirements.          Debtor(s)      must    cure   the   post-petition   default of
         $_______________ consisting of:




         (e.g., $_______________ in payments and $_______________ in late charges for April - June
         2018), as follows:


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        a. In equal monthly installments of $_______________ each, commencing ____________ and
           continuing thereafter through and including ____________.
        b. By paying the sum of $_______________ on or before ____________, and the sum of
           $_______________ on or before ____________.
        c. Other (describe):




   3.   Insurance Requirement(s). Debtor(s) must maintain insurance on the property at all times as
        required by the security agreement, naming ___________________________ as the loss payee.
        On or before ____________ debtor(s) must provide counsel for creditor with proof of insurance.
   4.   Stay Relief and Codebtor Stay Relief without Cure Opportunity.
        a. Upon default in the conditions in paragraph(s) _____________ creditor may file and serve a
           certificate of non-compliance specifying the default, together with a proposed order
           terminating the stay to allow creditor to foreclose on, and obtain possession of, the property
           to the extent permitted by applicable nonbankruptcy law, which the court may grant
           without further notice or hearing.
        b. The stay is terminated to allow creditor to foreclose on, and obtain possession of, the property
           to the extent permitted by applicable nonbankruptcy law, provided that a foreclosure sale
           shall not occur prior to ____________.
        c. Creditor is granted relief from stay effective ____________ to foreclose on, and obtain
           possession of, the property, to the extent permitted by applicable nonbankruptcy law.
        d. Creditor is granted relief from stay to foreclose on, and obtain possession of, the property,
           to the extent permitted by applicable nonbankruptcy law.
        e. If a creditor with a senior lien on the property is granted relief from stay, creditor may file
           and serve a certificate identifying the senior lienholder and a proposed order terminating the
           stay, which the court may grant without further notice or hearing.
        f. Creditor is granted relief from stay to ____________________________________________
           __________________________________________________________________________.
        g. Creditor is granted in rem relief from stay with respect to the real property described above
           and in Exhibit A. This order shall be binding in any other case filed under 11 U.S.C. purporting to
           affect such real property filed not later than two (2) years after the date of the entry of this order
           unless the bankruptcy court in the subsequent case grants relief from this order. Any
           governmental unit that accepts notices of interests or liens in real property must accept a
           certified copy of this order for indexing and recording.

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         h. Creditor is granted relief from the codebtor stay, as it applies to the codebtor(s) named in
            the caption above, to enforce the terms of the contract and collect the deficiency balance.
         i. [Chapters 12 and 13 only] All disbursements by the trustee to the creditor pursuant to the
            plan on account of creditor’s secured claim (claim no. ______) against the property must
            cease. Debtor(s) and creditor have agreed to this modification of the plan, and formal notice
            of this plan modification is not required because there is no negative effect on any
            nonconsenting creditor; the undersigned certifies receipt of written confirmation that
            debtor(s) has no objection to this paragraph.
   5.   Stay Relief with Cure Opportunity. Upon default in the checked condition(s) in paragraphs 1 - 3,
        creditor must serve written notice of default on      debtor(s) and       attorney for debtor(s)
        that gives debtor(s) _______ calendar days after the mailing of the notice to cure the default. If
        debtor(s) fails to cure the default in accordance with this paragraph, then creditor shall be
        entitled to submit a proposed order terminating the stay, which the court may grant without
        further notice or hearing.
         a. The notice of default may require that debtor(s) make any payment that becomes due between
            the date the notice of default is mailed and before the cure deadline.
         b. The notice of default may require debtor(s) to pay $______________ for the fees and costs
            of sending the notice.
         c. Only _______ notices of default and opportunity to cure are required per    year (calculated
            from date of entry of this order),    during the remainder of this case, or      (describe):



   6.   Amended Proof of Claim. Creditor must file an amended proof of claim to recover all accrued
        post-petition attorney fees and costs and (describe):




   7.   Miscellaneous Provisions.
         a. If creditor is granted relief from stay, the 14-day stay provided by FRBP 4001(a) is waived.
         b. Any notice that creditor's counsel must give to debtor(s)/codebtor(s), or attorney for
            debtor(s)/codebtor(s), pursuant to this order will not be construed as a communication under
            the Fair Debt Collection Practices Act, 15 U.S.C. § 1692.
   8.   A final hearing on creditor's motion for relief from stay will be held on ____________ at _______
        in ___________________________________________________________________________.
   9.   Other:
        *U.S. Bank Trust, N.A., as Trustee for LSF9 Master Participation Trust



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                                              ###

Presented and certified by:

________________________________
/s/ Michael S. Scott

It is so stipulated.

Creditor’s Attorney:                                      Debtor(s)’s Attorney:

________________________________                          ________________________________

Name: __________________________                          Name: __________________________

OSB#: ___________________________                         OSB#: ________________ _________


No objection to order by case trustee.                    Codebtor’s Attorney:

By: _____________________________                         ________________________________

                                                          Name: __________________________

                                                          OSB #: __________________________




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